Case 22-10609-amc          Doc 486     Filed 10/24/24 Entered 10/24/24 14:54:43             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
  In re:                                                :   Chapter 11
                                                        :
  SCUNGIO BORST & ASSOCIATES,                           :   Case No. 22-10609 (AMC)
  LLC,                                                  :
                                                        :
                           Debtor.                      :
                                                        :

                 REVISED NOTICE OF SBA PLAN TRUST ADMINSTRATOR’S
                    OBJECTION TO PROOF OF CLAIM NO. 19 FILED BY
                      ANI & JOE ABATEMENT & DEMOLITION LLC

        Stephen J. Scherf, SBA Plan Trust Administrator (the “Trust Administrator”) for
 the SBA Plan Trust for the estate of Scungio Borst & Associates, LLC (the “Trust”), by and
 through undersigned counsel Obermayer Rebmann Maxwell & Hippel LLP, has filed an
 objection to the proof of claim you filed in this bankruptcy case.

 1.        Your claim may be reduced, modified, or eliminated. You should read these papers
           carefully and discuss them with your attorney, if you have one. (If you do not have
           an attorney, you may wish to consult an attorney).

 2.        If you do not want the Court to eliminate or change your claim, you or your lawyer
           must attend the hearing on the objection, scheduled to be held on January 8, 2025 at
           12:30 p.m. in Courtroom 4, United States Bankruptcy Court, 900 Market Street,
           Philadelphia, Pennsylvania 19107. If you or your attorney do not attend the hearing on the
           objection, the Court may decide that you do not oppose the objection to your claim.

 3.        If you intend to appear at the hearing to contest the objection to your claim, you must
           notify the person listed below at least 7 days before the hearing date. If you do not
           notify the person listed below that you intend to appear, the Objector will be entitled to a
           postponement of the hearing.

 Date: October 24, 2024                  By: /s/ Edmond M. George__________________
                                         Edmond M. George, Esquire
                                         Michael D. Vagnoni, Esquire
                                         OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                                         1500 Market Street, Suite 3400
                                         Centre Square West
                                         Philadelphia, PA 19102
                                         Telephone: 215-665-3140
                                         Counsel for Stephen J. Scherf, Plan Administrator
                                         For the SBA Plan Trust



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